           Case 2:15-cv-01928-LDG-CWH Document 6-1 Filed 10/09/15 Page 1 of 15




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                                                   Email: jayrclvpmsa.org
15
16                                                 Attorneys for Plaint(ffPMSA

17
                                  UNITED STATES DISTRICT COURT
18
                                      DISTRICT OF NEVADA
19
20   LAS VEGAS POLICE PROTECTIVE ASSOCIATiON
     METRO [NC.; LAS VEGAS METRO POLICE
21
     MANAGERS & SUPERVISORS ASSOCIATION,                   CASE NO. 2:15-cv-01928-LDG-CWH
99
                    Plaintiffs,
23                                                         DECLARATION OF ANDREW KAHN
            vs.                                            IN SUPPORT OF MOTION FOR
24                                                         PRELIMINARY INJUNCTION
     LAS VEGAS METROPOLITAN POLICE
25
     DEPARTMENT;
26
27                  Defendant.

28

                                               1
           Case 2:15-cv-01928-LDG-CWH Document 6-1 Filed 10/09/15 Page 2 of 15




 1   I, Andrew Kahn, declare:
 2       1. I am an attorney for Plaintiffs and member of the bar of this Court and competent to
 3          testify to the following: attached hereto as Exhibit A is a true and correct copy of relevant
 4          portions of a report by the State’s Department of Taxation (found at its website,
 5          http://tax.nv.gov/uploadedFiles/taxnvgov/ContenUHome/Features/20 15 Session Lobbyi
 6          ng Expense Summary.pdf) of sums spent by local agencies on lobbying the State (based
 7          on reports from those agencies pursuant to their reporting requirement). I have
 8          experience with reviewing data published by this department and in my experience this
 9          department produces reliable information.
10          2.      Attached hereto as Exhibit B is a true and correct copy of a Las Vegas Review
11   Journal article quoting proponents in Carson City of legislation to ban paid leave for local labor
12   organizations. I am informed and believe they were quoted correctly, as I searched for
13   corrections and found none.
14          I declare under penalty of perjury of the laws of the United States and Nevada that the
15   foregoing is true and correct. Executed this 9th day of October 2015.
16
17            Andrewf Kahn
            /5/
            ANDREW J. KAI-IN
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                                                      2
Case 2:15-cv-01928-LDG-CWH Document 6-1 Filed 10/09/15 Page 3 of 15




                       Exhibit A
          Case 2:15-cv-01928-LDG-CWH Document 6-1 Filed 10/09/15 Page 4 ofPage
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                                                                                                                                             Agencies           About Nevada
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        Case 2:15-cv-01928-LDG-CWH Document 6-1 Filed 10/09/15 Page 5 of 15Page 2 of 2


                                   Live Ersteilpinment Ta5                                     Links to County Assessors
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SUMMARY OF LOBBYING EXPENDITURES -2015 SESSION                                                                                                     Pursuant to NRS 354.59803



        COUNTY                  COUNTY                CITIES               DISTRICTS                                SCHOOLS        I   I       TOTAL        I   I % of TOTAL
                                  43,841.00                                                                                                $    43841.00        I            l.33%(
ICaon City
(Churchul                         24,000.00             47,500.00                   -                                                      $    71,500.00       I            2.17%I
                       I
ICIa                             427,02892             930,170.21    (5)     600,509.53   (7)       11,013.56         275,051.00           $ 2,243,771.32
                       I
                                  43,000.00                                                                                  -             $    43,000.00                    1.30%I
IDouglas               I
                                                                                                                             -
                                                         25,000.00                  -                                                      $    25,000.00
lElko                  I
                                                                                                                             -             $           .        I            0.00%
lEsmeralda             I
                                                                                                                             -             $    25,000.00                    0.76%I
lEureka                I          25,000.00                                                                                                                     I
                                                                                                                             -             $           -        I            0.00%
IHumboldt              I
                                                                                                                             -             $           -        I            0.00%
ILander                I
                                                                                                                             -             $           -        I            0.00%
ILincoin               I
                                   9,475.00              10,787.50                  -                                        -             $    20,262.50                    0.61%I
ILyon                  I
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                                                                                                                                                                             000%j
(Mineral               I
                                                                                                                             -             $           -        I            0.00%
INve                   I
                                                                                                                             -             $           .        I            0.00%
IPershing              I
Istorey                                                                                                                31,054.70           $    31,054.70                    0.94%I
                       I
IWashoe                          341,534.00             200,502.10   (2)     187,853.67   (5)                          58,944.00           $   798,833.77       I           24.19%I
                       I
                                                                                                                                           $           -        I            0.00%J
Iwbite Pine            I
              Totals        $    913,876.92       $   1,213,959.81         $ 788,363.20             11.01366    $     375,049.70           53,302,263.29        r          100.00%I



 Historical SUmmary
                                                                                                                    SCHOOLS                  TOTALS                 %toPioçSenIon
        Session               COUNTY          I       CITIES               DISTRICTS            Iijø’
          Session                913,877          $     1,213,960          $ 788,363            $     11,014    $       375,050            $ 3,302,263                       107%
 2015                       $
                                                                                                                                                                                       Case 2:15-cv-01928-LDG-CWH Document 6-1 Filed 10/09/15 Page 6 of 15




          Session                  856,565        $     1,158,966          $ 791,779            $      6,236    $       283,198            $ 3,096,744                       102%
 2013                       $
 2011     Session           $      832,831        $     1,171,009          $ 712,958            $        -      $       322,588            $   3,039,387                      84%
 2009     Session           $      882,286        $     1,526,058          $ 685,259            $     35,353    $       509,336            $   3,618,293                      91%
 2007 Session               $      905,818        $     1441,934           $ 805,784            $        -      S       842,528            $   3,996,064                     155%
                            $      646,162        $       906,371          $ 575,602            $        -      $       457,308            $   2,585,443                     104%
 2005 Session
Case 2:15-cv-01928-LDG-CWH Document 6-1 Filed 10/09/15 Page 7 of 15




                       Exhibit B
          Case 2:15-cv-01928-LDG-CWH Document 6-1 Filed 10/09/15 Page 8 of 15

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    Fatal shooting by BLM..                                                               Obama to veto bill allowing...

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Lawmakers move to stop agencies from
paying for union work
MichiganCase
         Laborers’ Health Care Fund v. Grimaldi
              2:15-cv-01928-LDG-CWH             Concrete,
                                           Document    6-1Inc.Filed
                                                                 WestlawNext           15 5 of 6
                                                                    10/09/15 Page 9 of Page         -




        maintain adequate records as required by Section 1059, The burden thus shifted to Grimaldi
        to prove what work was covered and what was not covered.

          3 Grimaldi Concrete claims that the invoices it produced for 20% of its work, and the
        uncontradicted testimony of Rocco Grimaldi That covered work took roughly the same
        amount of time to complete as work not covered by the agreement, were sufficiert to show
        that 11% of its total work was covered under the collective bargaining agreement. The
        collective bargaining agreement, however, requires a calculation of benefits owed based on
        the precise number of hours worked by property classified laborers on covered projects.
        The information produced by Grimaldi Concrete clearly does not set forth the hours worked
        on covered projects, nor does it specify which laborers were working on those projects. In
        addition, it would be an exercise in pure speculation to attempt to ascertain from this
        information, and the limited inferences that can be drawn from it, the portion of the remaining
        80% of work for which no records at all are available that constituted covered work, Grimaldi
        Concrete’s information is thus insufficient to meet its burden of proof on the amount of
        covered work performed. See Operating Engineers, 911 F.2d at 1354 (employer does not
        meet burden of proof if It does not come forward with evidence of the number of hours spent
        performing covered work) (citing Brick Masons, 839 F.2d at 1338-39); see also Combs, 764
        F.2d at 625 (same).

          4 Nevertheless, Grimaldi Concrete argues, In light of the Funds’ falture to request
        regular reports and contributions, and the elapsed time between the period covered by the
        agreement and the filing of this lawsuit, It shouid not be required to have kept detailed
        records. However, Section 1059 is couched in mandatory language, and does not require
        that plan administrators submit regular requests for reports and contributIons. 29 U.S.C. §
        1059, 1 059(a)(1) (employer ‘shall maintain records’). Given the stipulation between the
                                             ...




        parties that Grimaldi Concrete is bound by the 1965-1989 agreement, the company’s other
        contentions regarding Rocco Grimaldi’s inability to understand wnten English, his resultant
        belief mat he was not bound by the agreement altec 1963, and the import of the 1956 default
        judgment are not relevant to the issues before us.

        We have not addressed the issue of The appropriate penalty for an employer who fails to
        maintain records. In 8rick Masons, on facts almost indistinguishable from those here, the
        Ninth Circuit held that

                 because (the employer] violated its statutory duty under ERISA to keep
                 accurate records and failed otherwise to come forward ‘6g7 with any
                 evidence of the extent of covered work perfonned by the [employees), the
                 Trust Funds are entitled as a matter of law to recover contributions for all
                 hours worked by these (employees] during the quarter in which they were
                 shown to have performed some covered work for [the employer].

        Brick Masons, 839 F.2d at 1339 (emphasIs added), in so holding, the Ninth Circuit relied on
        Combs, as well as the Supreme Court’s statement In Anderson that an ‘employer cannot be
        heard to complain that the damages lack the precision of measurement that would be
        possible had he kept records in accordance’ with the Act. Anderson, 326 U.S. at 658,66
        S.Ct. at 1192-93; Brick Masons, 639 F.2d at 1338-39. In Anderson, the Supreme Court also
        emphasized that the fact of damage was certain, as In the present case, and that an
        employer should not be allowed to benefit from the violation of a statutory duty. Anderson,
        326 U.S. at 688,66 S.Ct. at 1192-93. As the Ninth Circuit observed, ‘[a]n employer cannot
        escape liability for his failure to pay his employees the wages and benefits due to them
        under the law by hiding behind his failure to keep records as statutoriiy required.’ Stick
        Masons, 639 F.2d at 1338.

           5 As previously noted, the benefits calculations under the collective bargaining
        agreement depend on knowledge of the specific number of hours worked by each employee
        on projects covered under the collective bargaining agreement. Given these calculation
        constraints, and Grlmatdl Concrete’s violation of its statutory duty, it is Impossible to
        determine with any precision the amount of contributions due to the Funds. We agree with
        the Ninth Circuit that, under these circumstances, an employer is tiable for contributions on
        all hours worked during a period in which it has been demonstrated that some covered work
        was performed. Accordingly, the district court properly held Grimaldi Concrete liable to the
        Funds for $64,611.10, the full amount set forth in the stipulation.

           6 Grimaidl Concrete’s final argument, that this disposition is contrary to the expressed
         Intent of one of the stipulations between the parties, is also without merit. The stipulation in
         question provides that ‘contributions need not be made to plaintiffs under the collective




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            it                  By BEN BOTKIN
                                LAS VEGAS REViEW-JOURNAL
                                Year in and year out, Clark County shells out six-figure pay to small
                                                                                               a      group of




  ‘20i15r
                                employees who step away from their regular work to handle matter
                                                                                                  s for their
                                unions.

                               The system of paid union leave offers flexibility: County employees can
                                                                                                         attend
                               legislative sessions, participate in staff grievance hearings and catch
                                                                                                       up on labor
                               issues at union conferences     — all on the taxpayer’s dime.
                               Clark County staffers were paid $825,376.14 for doing union-related
                                                                                                   work from
                               2011 through 2013, a Las Vegas Review-Journal analysis of salary data
                                                                                                      shows,
RELATED STORIES
                               It’s all perfectly legal, plainly spelled out in labor contracts just like everyth
                                                                                                                  ing
2015 could be year of the      else negotiated between a union and management.
gun at Nevada Legislature
                               But the practice raises eyebrows among critics, who say that tax dollars
                               shouldn’t fund union-related activities that sometimes run counter to
Tony Dane doesn’t have                                                                               the same
                               government agencies that pay their salaries.
many fans
                               Government pay for union-related work would end in Nevada under bill
Can Democrats                                                                                          a
                               sponsored by Assemblyman Randy Kirner, R-Reno. Assembly Bill
compromise to get schools                                                                            182 would
                               prohibit the practice as part of the bill’s wide-ranging shake-up of collect
built?                                                                                                      ive
                               bargaining. Other aspects of the legislation would exclude supervisors from
                               collective bargaining, prevent local governments from deducting union
Nevada construction defect                                                                                dues from
                               employee paychecks and require final contract offers from both sides
reform bill sent to governor                                                                             to be
                               made public.
MichiganCase
         Laborers’ Health Care Fund v. Gñmaldi
              2:15-cv-01928-LDG-CWH                   6-1Inc.Filed
                                               Concrete,
                                          Document            - WestlawNext            15 4 of 6
                                                                   10/09/15 Page 11 ofPage

        judgment, which, In the opinion of the district court, should have put Grimaldi on notice for
        the remainder of the 1986-89 agreement period with respect to the statutory record-keeping
        requirements. Finally, the court stated that ‘the penalty must fall upon the person who had
        the legal responsibility to maintain those records7 and concluded that, because it could not
        calculate the amount owed under the agreement on the basis of the Incomplete Invoice
         receipts, Grimaldl Concrete was liable for contributions for all hours worked, In the amount of
         $6461 1.80, plus attorney’s fees and costs. This appeal by Grimaldi Concrete timely
        followed.


        Grimaldi Concrete asserts that the district court erred In ruling that the company failed to
        maintain adequate records as required by 29 U.S.C. § 1059. Section 1059 provides, In
        pertinent part, as follows

          (a)(1) Except as provided by paragraph (2) every employer shall, in accordance with
          regulations prescribed by the Secretary, maintain records with respect to each of his
          employees sufficient to determine the benefits due or which may become due to such
          employees. The plan administrator shall make a report, in such manner and at such time
          as may be provided in regulations prescribed by the Secretary, to each employee who isa
          participant under the plan



          (2)1! more than one emptoyer adopts a plan, each such employer shall, in accordance
          with regulations prescribed by the Secretary, furnish to the ptan administrator the
          information necessary (or the administrator to maintain the records and make the reports
          required by paragraph (I), Such administrator shall maintain the records and, to the extent
          provided under regulations prescribed by the Secretary, make the reports, required by
          paragraph (I).

           (b) If any person who is required, under subsection (a) of this section, to furnish
           Information or maintain records for any plan year fails to comply with such requirement, he
           shall pay to the Secretary a dvii penalty of $10 for each employee witn respect to whom
           such failure occurs, unless it is shown that such failure is due to reasonable cause.

         29 U.S.C. § 1059. Grimaldi Concrete concedes that it is an employer within the meaning of
         this section.

         According to both the plain language of the statute and the few court dedsions that have
         interpreted it, Section 1059 imposes a clear duty on an ethptoyer to maintain adequate
         records. In our sole published opinion dealing with this section, we stated that Section 1055
         imposes ‘a duty of responsibility and record keeping on employers with respect to all
         employees who are participants in an employee benefit plan.’ Central States Pension Fund
         v. Central Transport, Inc., 698 F.2d 802, 805 (6th CIr. 1983), ,ev’d on other grounds, 472
         U.S. 550, 105 SOt. 2833, 86 L.Ed.2d 447 (1985). This was reiterated in the reversal on the
         merits, in which the Supreme Court stated that the section ‘reqwr{es) employers to maintain
         records on employees and to furnish to benefit plans the Information needed for the plans’
         fulfillment of their reporting duties. Central States Pens/on Fund v. Central Transport, Inc..
         472 U.S. at 573. 105 S.Ct. at 2841-42. The Ninth and Eleventh Circuits have made similar
          declarations, Operafing Engineers Pension Trusts v B & E Backhoe, 911 F.Zd 1347. 1354
          (9th Cir.1990); Brick Masons Pension Trust v lndusfriaf Fence and Supply, 839 F.2d 1333,
          1337-38 (9th Clr.1988); Combs v. King, 764 F.2d 818, 823 (11th clr.1585).

            I In Operating Engineers and Brick Masons, the Ninth circuit relied on the Eleventh
         Circuit’s disposition In Combs In ‘696 holding that an employers failure to maintain adequate
         records shifts the burden to the employer to prove that the work performed was covered or
         not covered. Operating Engineers, 911 F.2d at 1354; Brick Masons. 639 F.2d at 1337-39;
         Combs, 764 F.2d at 826 (an employers failure to maintain records under ERISA shifts the
         burden ‘to the employer to come forward with evidence of the precise amount of work
         performed or with evidence to negative the reasonableness of the Inference to be drawn
         from the (plaintiff 1 evidence’ In order to avoid a finding that the employer violated its
         statutory record-keeping duty) (quoting Anderson v. Mt. Clemens Pottesy Co., 328 U.S. 680,
         687-88,66 &Ct, 1187,1192-93,90 LEd. 1515(1946) (emphasis added) (applying this
         approach In a Fair Labor Standards Act context)). We agree with this sensIble approach.

            2 Here, Grimaldi Concrete provided no records at all with respect to 80% of the work
          performed under the collective bargaining agreement, and provided incomplete records with
          respect to the remaining 20%. We believe, accordingly, that Grirnaldi Concrete failed to




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           Case 2:15-cv-01928-LDG-CWH Document 6-1 Filed 10/09/15 Page 12 of 15
  New assemblyman’s                   Kirner said the taxpaying public should be getting a teacher, police officer or
  campaign expenses reveal            other government employee when they’re covering the person’s salary
  a lot                                                                                                        —   not
                                      union-related work.

  Nevada lawmakers urged to          “Government should not be in the business of subsidizing a union,” he said.
  OK aviation tax abatements                ‘


                                     The bill has yet to have a committee hearing.
                                                                                  -




 Hambrick recall backers
                                     BY THE NUMBERS
 announce replacement
 candidate                           A Review-Journal analysis of Clark County pay records shows how much union
                                     leave costs the state’s largest government agency: The annual cost ranged from
 6 legislative committees to         $224,863.89 in 2011 to $346,200 in 2013, for an annual average of $275,125.
 watch in 2015
                                     Less than 1 percent of the county’s workforce of nearly 12,000 employees
 Five (other) big issues for         received paid union leave, or 115 employees.
 the 2015 Nevada
 Legislature                         Amounts paid vary widely. In 2013, for example, one staffer claimed the smallest
                                     amount, $12.93, while Ryan Bearnan, president of the International Association
 S people to watch in the            of Firefighters Local 1908, was paid the rnost at $52,219.44. Union presidents
 2015 legislative session            typically are paid the most because they clock more time on union-related
                                     activities. County employees who spend part of their workday in grievance
 See all of our coverage:            meetings representing a county worker typically are at the low end of the list.
 2015 Nevada Legislature.
                                     The average annual pay for union leave in 2013 was $3,010 per employee who
                                     received it.

                                 The bulk of the payouts go to employees affiliated with the firefighters union and
 the Service Employees International Union Local 1107, which are the county’s
                                                                              largest labor organizations.
 Those figures cover just Clark County government. In 2012, the Nevada Policy Research
                                                                                              Institute determined the
 total annual union leave bill associated with 37 municipal labor contracts in Southern
                                                                                          Nevada was at least $4.6
 million. Those figures include unions that represent workers in cities, the Metropolitan
                                                                                          Police Department and the
 Clark County School District.

  It’s just a complete waste,” said Victor Joecks, executive vice president of the right-leaning
                                                                                                 think tank. ‘There’s no
 reason that taxpayers should be subsidizing organizations like that.”

 HOW IT WORKS

The agreement between Clark County and the Service Employees International Union has
                                                                                     varied provisions for
union leave.

A county worker who becomes president of SEIU’s Local 1107 is paid for 40 hours a week
                                                                                             at his regular county
pay rate even though he works full-time for the union. The union’s executive vice president,
                                                                                              however, gets just
four hours per week of paid leave for union activities.

Union leaders say they like the system lust fine as it is.

Martin Bassick, president of Local 1107, said it doesn’t make sense for legislators to get involved
                                                                                                    in an issue that
both sides have agreed upon.

“It’s in a contract and it’s not been in dispute,” Bassick said. “It’s never gone to arbitration.’

Nor does the arrangement benefit only the union, he said.

By having employees serve as stewards, the union has people already at the workplace who can help deal with
personnel and provide feedback about safety issues, Bassick said.

“The union has a person right there in the shop and they can address it right then and
                                                                                       there,” Bassick said.
As many as four chief stewards get 32 hours of paid time-off each week for union business.
                                                                                             If the SEIU elects a
president who isn’t a county employee, the county is required to give another 32 hours
                                                                                       total of paid leave to be
shared by the stewards according to schedules provided to the county’s human resources
                                                                                           department.
MichiganCase
         Laborers’ Health Care Fund v. GHmaldi
              2:15-cv-01928-LDG-CWH            Concrete,
                                          Document    6-1Inc. Filed 10/09/15 Page 13 ofPage
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                                                                                                -




        Nearly all of the facts of the case are contained In three pre-that stipulations between the
        parties, and the remaining facts not in dispute. The Michigan Laborers’ Health Care Fund,
        Vacation Fund, and Training Fund, as well as the State of Michigan District Council Pension
        Fund çFunds”) ‘894 are multi-employer trust funds established to provide medical, hospital.
        pension, vacation, and other benefits to employees of the multi-employer group under
        Section 302(c)(5) of the Labor Management Relations Act, 29 U.S.C. § I86(c)(5), and the
        Employee Retirement income Security Actof 1974 (ERISA), 29 U.S.C. § 1001-1461. The
        Funds receive fringe benefit contributions from participating employers pursuant to collective
        bargaining agreements between the employers and local chapters of the Laborers
        International Union.

        On October11, 1983, the president of Grimatdl Concrete signed an independent contractors
        collective bargaining agreement with the Laborers’ lntemationai Union of North America,
        Local I ii.This agreement bound Grimaldi Concrete to the terms and conditions of a
        second collective bargaining agreement, covering the period horn 1963 to 1966. between
        the Michigan Road Builders’ Association and The State of Michigan Laborers’ District Council
        of the Laborers’ International Union of North America, The agreement signed by Rocco
        Grimaidi contained an automatic renewal provision, whicti bound Grimaldi Concrete to the
        terms of a subsequent 1986-1989 collective bargaining agreement between the Union and
        the Road Buiiders’ AssiaUon unless Grimaldi gave written notice to the Union at least sticty
        days prior to the tennination date of the I 983-1 986 agreement Grimaldi Concrete railed to
        notify the Union, and the company subsequenby changed its name to Rocoo’s Concrete
        Company’ in an unsuccessful attempt to avoid the consequences of the renewal provision,
        of which It allegedly had been previously unaware. The parties now agree that the 1955.
         1989 collective bargaining agreement covers the current dispute.

         Under the 1986-1989 agreement, Grimaldi Concrete was required to make payments to
         each of The Funds for employees performing ‘covered’ concrete-pouring work The partes
         have stipulated that driveway and sidewalk work was covered by the agreement, and have
         also stipulated that contributions were not required for other concrete-pouring work Grirnaldi
         Concrete admits that it employed eleven laborers during the penod covered by me 1986’
         1989 agreement, and that these laborers performed some work on driveways and sidewalks.

         in 1986, the Funds obtained a $23,308.81 default judgment against Grimaldi Concrete for
         unpaid amounts involving similar covered work for the 1983-1906 peciod. Vth respect to the
         subsequent, I 986-1989 agreement, it is undisputed that Grirnaldi Concrete failed to submit
         monthly fringe benefit reports to the Funds. and made no contributions to the Funds. As
         Grimaidi points out however, from mid-1984 to September20, 1992, the date the present
         action was flied, the Funds made no requests for reports or contributions other than In the
         1988 action.

         After the 1988-1989 agreement expired, the Funds audited Grimaldi Concrete’s payroll
         records. The audit established that Grimaldi’s &even laborers worked a total of
         approximately 14,574 hours during this period. The parties have stipulated that if at or this
         time were spent performing work covered by the agreement, the defictt in contributions,
         induding interest, would be $64811.80. Grimaldi Concrete produced invoice receipts for
         19 4 percent of the total work performed during this period, measured as a percentage of
         $2,350,151.40 in gross receipts. The receipts show a total of 346,625.32 square feet of
         concrete work, of which 39,034,32 feet, or 11.3 percent, was work covered under the
         agreement. Grimaidi Concrete has no records for the remaining 80.6 percent of total work
         performed in 1986-1989, nor does it have additional records forthe 19.4 percent of work
         described showing which laborers performed covered work, or how many hours were spent
          performing covered work, Because of the lack of records, the Fund auditors were unable to
         determine the amount of work for which contributions were due. They concluded that
          Grimaldi Concrete owed contributions for all work performed during the agreement period.
          Grimaidi Concrete disputed this conclusion, and the Funds filed suit to recover the unpaid
          contributions provided for in the agreement.

         The district couri found that Grimaldi Concrete clearly violated ERISA by failing to maintain
         adequate records as required by ‘69529 U.S.C. § 1059(a)(1), which provides that ‘[e]very
         employer shall maintain records with respect to each of his employees sufficient to
                         ,.,




         determine the benefits due or which may become due to such employees.’ The court noted
         that the invoices supplied by Grimaldi did not specify the hours spent performing covered
         work, and that they were therefore Inadequate to support a calculation of benefits owed
         under the collective bargaining agreement. The court also referred to the 1988 default




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 The SEIU’s contract with Clark County also provides as much as 2,080
                                                                       hours of paid leave each year for
 employees engaged in activities such as investigating grievances and attendi
                                                                              ng legislative sessions, conferences
 and conventions.

 Sassick said Kirner’s bill is “just another attack on unions that are protect
                                                                               ing the middle class. This is politics as
 usual.”

 Union leave provisions seldom are an issue in contract negotiations. For Clark
                                                                                  County and the SEIU, for example,
 the key bargaining points are big-ticket items such as longevity pay and cost-of
                                                                                  -living increases, which put millions
 of taxpayer dollars on the line.

 But Kirner said the issue shouldn’t be part of bargaining at all.

 “At the end of the day, they’re doing union business,” Kirner said, noting that taxpay
                                                                                        er dollars are involved.
 The county’s agreement with the firefighters union allows the union preside
                                                                             nt to pick six officers and give them
 paid leave for activities that include educational conferences, seminars and
                                                                              training courses. They’re required to
 give eight days’ notice or more before taking the time away from their
                                                                        regular duties.
Firefighters can’t claim overtime pay when participating in union functio
                                                                          ns, under terms of the contract.
Payroll records show the firefighters union president also works regular
                                                                           shifts in addition to receiving union leave
pay.

Seaman was unavailable for an interview about the issue, but said in
                                                                     an email that the union has a very
productive working relationship with the county.”

County Commission Chairman Steve Sisolak said he’s brought up the issue
                                                                           in the past, and any changes would
have to come through the bargaining process, which requires give-an
                                                                    d-take from both sides.
SCRUTINY BEYOND NEVADA

While now on the Legislature’s agenda, paid union leave has attracted more
                                                                           attention elsewhere.
In Arizona, the conservative think tank Goldwater Institute sued Phoenix
                                                                         and its police union to end the practice.
That case hinged on a legal argument that the practice is tantamount to illegal
                                                                                gifts, forbidden by that state’s
constitution. The Goldwater Institute won the case when the court determ
                                                                         ined union leave is a “pure gift” because
the Phoenix Police Department receives nothing of value in return.

If an appellate court upholds that determination, the practice would end statew
                                                                               ide in Arizona, institute attorney Jon
Riches said.

Utah lawmakers in 2011 passed legislation that prohibits paid union leave for public
                                                                                     school teachers, according to
the National Conference of State Legislatures.

Contact Ben Botkin at bbotkin@reviewiournal.com or 702-387-2904. Follow
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         bargaining agreement for [uncoveredj work.” In order for this provision to have its intended
         effect, of course, there must be sufficient evidence to show how much work is covered, and
         how much is not covered by the agreement. Grimaldi Concrete’s failure to maintain
         adequate records, and Its failure to provide sufficient evidence of the hours worked by its
         employees on covered projects, ensured that an accurate calculation of owed benefits could
         not be made. As we have already observed, under the Supreme Court’s decision In
         Anderson, an employer should not be allowed to benefit from the violation of its statutory
         record-keeping duty. Thus, the general intent of the stipulation regarding contributions and
         non-covered work notwithstanding, Grimaldi Concrete Is liable for fringe benefit contributions
         for all hours worked under the collective bargaining agreement, in addition to the civil penalty
         provided for in 29 U.S.C. § 1059(b).

                                                      III
         For the foregoing reasons, the judgment of the district court Is affirmed.

         All Citations

         30 F.3d 692, 1994 Fed.App. 0284P, Pens. Plan Guide (CCH) P 238980


           Footnotes

                       For example, Astde V of the agreement sets forth classifications regarding
                       worker eligibility for handling certain equipment and projects, and Article VI
                       states as follows:

                            HEALTH CARE FUND

                            2. (a) The Conbaclors agree to pay into the Michigan Laborers’ Health
                            Care Fund one dollar and fiieen cents (51.15) per hour paid each
                            employee doing the work ccvered by this Agreement

                          Other provisions in Mide Vi similarly provide for payment Into the                       —




                          remainder of the Funds.



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